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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 American Library Association, et al.,

                Plaintiffs,

        v.                                             Case No. 1:25-cv-01050

 Keith Sonderling, et al.,

                Defendants.



       PLAINTIFFS’ NOTICE OF CONSENT TO EXTENSION OF THE TEMPORARY
                          RESTRAINING ORDER

       Pursuant to the Court’s Minute Order of May 21, 2025, Plaintiffs inform the Court that

Plaintiffs consent to an extension of the temporary restraining order issued by this Court on May

1, 2025, ECF No. 36, until the Court rules on the pending motion for a preliminary injunction or

this case is otherwise resolved.
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Dated: May 23, 2025                    Respectfully submitted,

                                        /s/ Rachel L. Fried__________________
                                       Rachel L. Fried (DC Bar No. 1029538)
                                       Orlando Economos (DC Bar No. 90013791)
                                       Kayla M. Kaufman (DC Bar No. 90029091)
                                       Robin F. Thurston (DC Bar No. 1531399)
                                       Skye Perryman (DC Bar No. 984573)
                                       Democracy Forward Foundation
                                       P.O. Box 34553
                                       Washington, DC 20043
                                       (202) 448-9090
                                       rfried@democracyforward.org
                                       oeconomos@democracyforward.org
                                       kkaufman@democracyforward.org
                                       rthurston@democracyforward.org
                                       sperryman@democracyforward.org


                                       /s/ Chris Gair___________ _______
                                       Chris Gair (Ill. Bar No. 6190781)*
                                       Vilia Dedinas (Ill. Bar No. 6191614)*
                                       John Gallo (Ill. Bar No. 6193988)*
                                       Ingrid Yin (Ill. Bar No. 6339857)*
                                       Gair Gallo Eberhard LLP
                                       1 E. Wacker Drive, Suite 2600
                                       Chicago, Illinois 60601
                                       (312) 600-4900
                                       cgair@gairgallo.com
                                       vdedinas@gairgallo.com
                                       jgallo@gairgallo.com
                                       iyin@gairgallo.com

                                       Counsel for Plaintiffs

                                       *Admitted pro hac vice




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